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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                             )
 J.G.G., et al.,                             )        Civil Action No. 1:25-cv-00766
                                             )
               Plaintiffs-Petitioners,       )
                                             )
 v.                                          )
                                             )
 DONALD J. TRUMP, in his official            )
 capacity as President of the United States, )
 et al.,                                     )
                                             )
               Defendants-Respondents.       )
                                             )

                   MOTION TO STAY THE MARCH 18 MINUTE ORDER

        What began as a dispute between litigants over the President’s authority to protect the

national security and manage the foreign relations of the United States pursuant to both a

longstanding Congressional authorization and the President’s core constitutional authorities has

devolved into a picayune dispute over the micromanagement of immaterial factfinding. In a series

of orders this Court has requested the Government to provide it details about the movements of

aircraft outside of the United States and interactions with foreign nations which have no bearing

on any legal issue at stake in the case. The underlying premise of these orders, including the most

recent one requiring the production of these facts ex parte today at noon, is that the Judicial Branch

is superior to the Executive Branch, particularly on non-legal matters involving foreign affairs and

national security. The Government disagrees. The two branches are coequal, and the Court’s

continued intrusions into the prerogatives of the Executive Branch, especially on a non-legal and

factually irrelevant matter, should end.

        The Court’s pending questions relate to a comment by the Court to a Government attorney

suggesting, incorrectly, that the attorney had the ability to divert aircraft operating at the



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President’s direction on an extraterritorial mission to remove members of a designated foreign

terrorist organization from the United States in connection with one or more sensitive diplomatic

agreements requiring months of negotiation. The comment betrayed a complete misunderstanding

of the serious national security, safety, regulatory, and logistical problems presented by a fiat from

the Court directed at pilots operating outside the United States and was made without regard to

whether any such aircraft could feasibly be diverted or even had enough fuel to safely do so.

Further, the Court did not pause the hearing to give the attorney an opportunity to act on the remark,

nor did it memorialize the remark in the subsequent minute order.

       There is no serious dispute that the Government complied with the minute order, and the

pending questions are grave encroachments on core aspects of absolute and unreviewable

Executive Branch authority relating to national security, foreign relations, and foreign policy. Even

addressing the questions in an ex parte submission would result in an immediate flood of media

inquiries and demands for the information, subjecting the diplomatic relationships at issue to

unacceptable uncertainty about how the Court will address those demands. Worse, the risks created

by addressing the Court’s pending questions would undermine the Executive Branch’s ability to

negotiate with foreign sovereigns in the future by subjecting all of the arrangements resulting from

any such negotiations—as well as the negotiations themselves—to a serious risk of micromanaged

and unnecessary judicial fishing expeditions and potential public disclosure.

       Accordingly, Defendants seek a stay of this Court’s order today requiring the production

of specific information ex parte tomorrow in under 24 hours, at noon today. The Government

continues to object to the compelled disclosure of the immaterial information sought and believes

that the court’s actions to date represent grave usurpations of the President’s powers under the




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Alien Enemies Act (“AEA”) and his inherent Article II powers. Subject to that continuing

objection, the Government submits that a stay is warranted here for four reasons.

         First, Defendants are currently evaluating whether to invoke the state secrets privilege as

to portions of the information sought by this Court’s order. Whether and how to invoke that

privilege involves both weighty considerations and specific procedures that are not amenable to

the 21-hour turnaround period currently provided by this Court’s order.1 This Court itself raised

the possibility that the Government might raise the state secrets privilege as a potential basis for

not producing information. See, e.g., 3/17/25 Tr. at 9:25-10:18. The Government cannot hastily

conduct an evaluation of the invocation of that privilege except in exigent circumstances, and the

flightpath of an airplane that landed three days ago is not an exigent circumstance warranting such

evaluation.

         This Court should therefore stay or delay its order to provide Defendants an opportunity to

make an orderly but expedited decision as to whether to invoke the state secrets privilege and, if

so, as to what information. Indeed, the Supreme Court has instructed that a “formula of

compromise” must be applied to cases in which the state secrets privilege may be raised. United

States v. Reynolds, 345 U.S. 1, 9 (1953). Further, a “court may [not] automatically require a

complete disclosure to the judge before the claim of privilege will be accepted in any case,” and a

court may glean “from all the circumstances of the case” without disclosure, even ex parte, whether



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   See Attorney General Memorandum for Heads of Executive Departments and Agencies Heads of Department
Components on Supplement to Policies and Procedures Governing Invocation of the State Secrets Privilege (Sept. 30,
2022),
https://www.justice.gov/d9/pages/attachments/2022/09/30/supplement_to_policies_and_procedures_governing_invo
cation_of_the_state_secrets_privilege.pdf (explaining that generally the request to invoke the privilege and requisite
declaration(s) “must be provided to the Department of Justice at least 40 calendar days before the date it is anticipated
that the privilege must be invoked in litigation,” with “final declarations” being submitted at least 15 calendar days
before and that the “request, declaration(s), and required Department recommendations must be presented to the
Attorney General for decision at least 10 calendar days before the date it is anticipated that the privilege must be
invoked in litigation”).


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compulsion will expose “matters which, in the interest of national security, should not be

divulged.” Id. at 10. A cautious approach, rather than an expedited deadline of less than 24 hours,

is warranted to avoid forcing the Government into a Hobson’s choice—a hasty and potentially

underexamined invocation of the state secrets privilege or the release of sensitive national security

and foreign affairs information. To that end, the “formula of compromise” in this case is simple

and clear: stay the Court’s order until the circuit court has ruled on the Government’s pending stay

motion.

       Second, a stay is warranted because a decision by the D.C. Circuit on the Government’s

request for a stay pending appeal is likely imminent. That court set a highly expedited briefing

schedule which will be completed by 5pm tomorrow, and a decision will likely be issued by the

end of the week. That decision is expected to provide important guidance as to this Court’s

authority to review Presidential determinations under the AEA, as well as the scope of judicial

review, if any.

       As the government has explained in its motion to dissolve the TRO, this case is not even

justiciable. See generally Doc. 26. In particular, the D.C. Circuit has explicitly characterized the

AEA as providing “[u]nreviewable power in the President to restrain, and to provide for the

removal of, alien enemies in time of war[, which] is the essence of the Act.” Citizens Protective

League v. Clark, 155 F.2d 290, 294 (D.C. Cir. 1946) (emphasis added)). Citizens Protective

League remains binding authority and underscores why judicial intervention is particularly

unwarranted here. See also Ex parte Gilroy, 257 F. 110, 112 (S.D.N.Y. 1919) (“The authority of

the President to promulgate by proclamation or public act ‘the manner and degree of the restraint

to which they (alien enemies) shall be subject, and in what cases,’ is, of course, plenary and not

reviewable.” (emphasis added)). The government also possesses very strong arguments that




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Plaintiffs’ claims necessarily and exclusively sound in habeas—which would incontrovertibly

preclude this Court’s assertion of jurisdiction. See Doc. 26 at 7-11.

        Particularly because the Court’s inquiries relate only to retrospective and immaterial facts,

and not future compliance, there is simply no need for the information at issue before the D.C.

Circuit can issue its stay ruling.

        Moreover, the Government has already set forth its arguments for why its actions complied

with this Court’s March 16 minute order, see Doc. 24, which do not require reference to any of the

information sought to support those arguments. And Plaintiffs have not explained why they need

any of the requested information to raise whatever compliance arguments they intend to make

either. In short, the Plaintiffs and the Court are seeking information about a past event to which

the Government has already spoken and which has no salience to the Plaintiffs’ claims. Continuing

to beat a dead horse solely for the sake of prying from the Government legally immaterial facts

and wholly within a sphere of core functions of the Executive Branch is both purposeless and

frustrating to the consideration of the actual legal issues at stake in this case. This consideration

also warrants a stay.

        Third, disclosure of the information sought could implicate the affairs of United States

allies and their cooperation with the United States Government in fighting terrorist organizations.

Such disclosure would unquestionably create serious repercussions for the Executive Branch’s

ability to conduct foreign affairs. The prospect of hasty and wholly unnecessary disclosure of this

information, which these continued proceedings have made manifest, would have a chilling effect

on the willingness of other nations to cooperate with the United States. The Court has no basis to

intrude into the conduct of foreign affairs by the Government, and a more deliberative and

respectful approach is warranted.




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       Fourth, the government does not currently have any assurance at this time that information

provided to the Court on an ex parte basis would not subsequently be provided to the Plaintiffs or

the general public before the Government could seek appellate review of that further disclosure.

Once that secondary disclosure occurred, any opportunity for appellate review would be moot; the

damage would be done, and the effect on United States foreign policy could be catastrophic.

       Therefore, the Government requests that before the Court mandates disclosure of the

information sought by the March 18 order, that the Court commit not to make further disclosures

of that information before the Government would have an opportunity to seek expedited appellate

review of that further disclosure.

                                             CONCLUSION

       The Court has now spent more time trying to ferret out information about the Government’s

flight schedules and relations with foreign countries than it did in investigating the facts before

certifying the class action in this case. That observation reflects how upside-down this case has

become, as digressive micromanagement has outweighed consideration of the case’s legal issues.

The distraction of the specific facts surrounding the movements of an airplane has derailed this

case long enough and should end until the Circuit Court has had a chance to weigh in. The

Government respects this Court and has complied with its request to present the Government’s

position on the legality of the Court’s TRO and the Government’s compliance with that TRO. The

Government now asks the Court to accord it the same respect as a coequal branch by staying its

order until the important issues raised by this case are considered by the circuit court. Defendants’

request for a stay of this Court’s March 18 order should be granted.




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                                   Respectfully Submitted,

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